     Case 2:19-cr-00821-JMV Document 240 Filed 08/02/22 Page 1 of 5 PageID: 3035




July 29, 2022


FRANK MICHAEL MONTE
Essex County Correctional Facility
354 Doremus Avenue
Newark, N.J. 07105


John M. Vasquez, U.S.D.J.
U.S Courthouse
1B°P~r       JDAiflDilK
Newark NJ. 07102




           R.E.; District Court of New Jersey, Case Number: 19-cr-821-JMV




Dear Judge Vazquez,


       At this time I respectfully request to be produced for a "status hearing, " in
person and/or by video teleconference; so I may further address the court ... on the
record. "More specifically, your Honor, in light of the fluid nature thereof, clarity of
the material facts, inter alia, before we proceed to the so-called sentencing."

       This request is made in good faith ... and in the interest and furtherance of
justice.
  Case 2:19-cr-00821-JMV Document 240 Filed 08/02/22 Page 2 of 5 PageID: 3036




                              Sincerely,          ~~


                                ~~-
                               Frank Michael Monte, pro se
                               Essex County Correctional Facility
                               354 Doremus Avenue
                               Newark, N.J. 07105



CC:JohnJ.McMahon,Esq




                                  Page 2 of 2
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July 29, 2022


FRANK MICHAEL MONTE
Essex County Correctional Facility
354 Doremus Avenue
Newark, NJ. 07105


John M. Vasquez, U.S.D.J.
U. S Courthouse
3Stl '.Qc1u   .A C tte
Newark N.J. 07102




           R.E.; District Court of New Jersey, Case Number: 19-cr-821-JMV




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justice.
Case 2:19-cr-00821-JMV Document 240 Filed 08/02/22 Page 4 of 5 PageID: 3038



                                Sincerely,



                                                    ,prose
                                Essex County Correctional Facility
                                354 Doremus A venue
                                Newark, NJ. 07105



CC: John J. McMahon, Esq




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    Case 2:19-cr-00821-JMV Document 240 Filed 08/02/22 Page 5 of 5 PageID: 3039




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